       Case 19-90311                Doc 5           Filed 04/06/19 Entered 04/06/19 23:50:09                         Desc Imaged
                                                    Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              John Dewilder Gibson                                              Social Security number or ITIN        xxx−xx−3632
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Central District of Illinois
                                                                                        Date case filed for chapter 7 4/4/19
Case number:          19−90311


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       John Dewilder Gibson

2.      All other names used in the
        last 8 years

3.     Address                               404 N 21st St
                                             Mattoon, IL 61938

4.     Debtor's attorney                     Joseph Scott Pappas                                    Contact phone 217−345−6222
                                             622 Jackson Avenue
       Name and address                      Charleston                                             Email: jpappas@rsmithlawltd.com
                                             Charleston, IL 61920

5.     Bankruptcy trustee                    Roger L Prillaman                                      Contact phone 217−384−1300
                                             220 West Main Street
       Name and address                      Urbana, IL 61801                                       Email: trusteeprillaman@aol.com
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
       Case 19-90311                 Doc 5        Filed 04/06/19 Entered 04/06/19 23:50:09                                   Desc Imaged
                                                  Certificate of Notice Page 2 of 4
Debtor John Dewilder Gibson                                                                                                  Case number 19−90311


6. Bankruptcy clerk's office                   203 U.S. Courthouse                                             Hours open 8:00 am − 5:00 pm
                                               201 S. Vine Street
   Documents in this case may be filed at this Urbana, IL 61802                                                Contact phone 217−974−7330
   address. You may inspect all records filed
   in this case at this office or online at     Visit www.ilcb.uscourts.gov for this court's mandatory
   www.pacer.gov.                               electronic filing policy.
                                                                                                               Date: 4/4/19

7. Meeting of creditors                         May 17, 2019 at 02:30 PM                                       LOCATION:
   Debtors must attend the meeting to be        The meeting may be continued or adjourned to a
   questioned under oath. In a joint case, both                                                                Edgar County Courthouse,
   spouses must attend. Creditors may attend, later date. If so, the date will be on the court docket.         Courtroom 2, 115 W Court,
   but are not required to do so.
                                                                                                               Paris, IL 61944
8. Presumption of abuse                         The presumption of abuse does not arise.

   If the presumption of abuse arises, you
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. § 707(b).
   Debtors may rebut the presumption by
   showing special circumstances.

9. Deadlines                                  File by the deadline to object to discharge or to Filing deadline: 7/16/19
                                              challenge whether certain debts are
   The bankruptcy clerk's office must receive dischargeable:
   these documents and any required filing
   fee by the following deadlines.
                                                You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or

                                                • if you want to have a debt excepted from discharge
                                                  under 11 U.S.C § 523(a)(2), (4), or (6).

                                                You must file a motion:
                                                • if you assert that the discharge should be denied
                                                  under § 727(a)(8) or (9).

                                                Deadline to object to exemptions:                              Filing deadline: 30 days after the
                                                The law permits debtors to keep certain property as exempt. If conclusion of the meeting of creditors
                                                you believe that the law does not authorize an exemption
                                                claimed, you may file an objection.

10.Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof
                                                of claim now. If it later appears that assets are available to pay creditors, the clerk will
   Please do not file a proof of claim unless   send you another notice telling you that you may file a proof of claim and stating the
   you receive a notice to do so.               deadline.

11.Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                    asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                    United States bankruptcy law if you have any questions about your rights in this case.

12.Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                                be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                                You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If
                                                you believe that the law does not authorize an exemption that the debtors claim, you may
                                                file an objection. The bankruptcy clerk's office must receive the objection by the deadline
                                                to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2
        Case 19-90311        Doc 5    Filed 04/06/19 Entered 04/06/19 23:50:09            Desc Imaged
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                                      United States Bankruptcy Court
                                      Central District of Illinois
In re:                                                                                Case No. 19-90311-mpg
John Dewilder Gibson                                                                  Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0753-2          User: mste                   Page 1 of 2                  Date Rcvd: Apr 04, 2019
                              Form ID: 309A                Total Noticed: 37


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 06, 2019.
db             +John Dewilder Gibson,     404 N 21st St,    Mattoon, IL 61938-2733
7032655         AT&T Headquarters,     208 S Akard St,    Dallas, TX 75202-4206
7032653         Alltran Financial, LP,     PO Box 610,    Sauk Rapids, MN 56379-0610
7032659        +CONTINENTAL FIN CO,     4550 New Linden Hill Rd,    Wilmington, DE 19808-2930
7032660         COURTESY LOANS,    500 6th St,    Charleston, IL 61920-2016
7032657         Chase Receivables,     755 Broadway Dr Ste 208,    Petaluma, CA 94952
7032658        +Client Services, Inc.,     3451 Harry S Truman Blvd,    Saint Charles, MO 63301-9816
7032664         ERC,   PO Box 57610,     Jacksonville, FL 32241-7610
7032668         KIA MOTOR FINANCE,     PO Box 20835,    Fountain Valley, CA 92728-0835
7032672         Migdal Law Group LLP,     PO Box 64600,    Chicago, IL 60664-0600
7032673         Nationstar Mortgage Holdings,     8950 Cypress Waters Blvd,    Coppell, TX 75019-4620
7032678         SUN LOAN,    1420 Broadway Ave,    Mattoon, IL 61938-4014
7032679         Surge,    PO Box 3220,    Buffalo, NY 14240-3220
7032667         iSpeedyLoans,    2400 E Drive Ave Ste 300,     Des Plaines, IL 60016

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: jpappas@rsmithlawltd.com Apr 04 2019 19:59:00       Joseph Scott Pappas,
                 622 Jackson Avenue,   Charleston,    Charleston, IL 61920
tr             +EDI: FRLPRILLAMAN.COM Apr 04 2019 23:58:00      Roger L Prillaman,    220 West Main Street,
                 Urbana, IL 61801-2622
ust            +E-mail/Text: ustpregion10.pe.ecf@usdoj.gov Apr 04 2019 19:59:21       U.S. Trustee,
                 Office Of Nancy J. Gargula U.S. Trustee,    401 Main St #1100,    Peoria, IL 61602-1241
7032654         E-mail/Text: cashnotices@gmail.com Apr 04 2019 19:59:44       AmeriCash Loans,
                 2400 E Devon Ave Ste 300,   Des Plaines, IL 60018-4600
7032656         E-mail/Text: bk@blittandgaines.com Apr 04 2019 19:59:16       Blitt and Gaines, P.C.,
                 661 Glenn Ave,   Wheeling, IL 60090-6017
7032661         EDI: CCS.COM Apr 04 2019 23:58:00      CREDIT COLLECTION SERVIC,    PO Box 607,
                 Norwood, MA 02062-0607
7032662         EDI: RCSFNBMARIN.COM Apr 04 2019 23:58:00      CREDIT ONE BANK,    PO Box 98872,
                 Las Vegas, NV 89193-8872
7032663         EDI: DISCOVER.COM Apr 04 2019 23:58:00      DISCOVER FINCL SVC LLC,    PO Box 15316,
                 Wilmington, DE 19850-5316
7032665         EDI: CBS7AVE Apr 04 2019 23:58:00      GINNY’S INC,   1112 7th Ave # AVEPOB 2816,
                 Monroe, WI 53566-1364
7032666         E-mail/Text: bankruptcy@affglo.com Apr 04 2019 19:59:27       Global Credit Collections,
                 5440 N Cumberland Ave Ste 300,    Chicago, IL 60656-1486
7032669         EDI: RESURGENT.COM Apr 04 2019 23:58:00      LVNV FUNDING LLC,    C/O RESURGENT CAPITAL,
                 PO Box 1269,   Greenville, SC 29602-1269
7032670         EDI: MID8.COM Apr 04 2019 23:58:00      MIDLAND FUNDING LLC,
                 2365 Northside Dr # DRIVESUITE 300,    San Diego, CA 92108-2709
7032671         EDI: MID8.COM Apr 04 2019 23:58:00      Midland Funding LLC,    2365 Northside Dr # 300,
                 San Diego, CA 92108-2709
7032674        +E-mail/Text: opportunitynotices@gmail.com Apr 04 2019 19:59:41       OPPORTUNITY FINANCIAL,
                 130 E Randolph St # STSUITE 3400,    Chicago, IL 60601-6241
7032675         EDI: PRA.COM Apr 04 2019 23:58:00      PORTFOLIO RECOVERY,    120 Corporate Blvd # BLVDSUITE 100,
                 Norfolk, VA 23502-4952
7032676        +EDI: DRIV.COM Apr 04 2019 23:58:00      SANTANDER CONSUMER USA,    PO BOX 961245,
                 Fort Worth, TX 76161-0244
7032677         EDI: SECFIN.COM Apr 04 2019 23:58:00      SECURITY FINANCE CORPORA,    PO Box 3146,
                 Spartanburg, SC 29304-3146
7032680         EDI: RMSC.COM Apr 04 2019 23:58:00      SYNCB/AMAZON PLCC,    PO Box 965015,
                 Orlando, FL 32896-5015
7032681         EDI: RMSC.COM Apr 04 2019 23:58:00      SYNCB/BP,   C-O,    PO Box 965024,
                 Orlando, FL 32896-5024
7032682         EDI: RMSC.COM Apr 04 2019 23:58:00      SYNCB/WAL-MART,    PO Box 965024,
                 Orlando, FL 32896-5024
7032683         E-mail/Text: bankruptcydepartment@tsico.com Apr 04 2019 19:59:46       Transworld Systems Inc,
                 500 Virginia Dr Ste 514,   Fort Washington, PA 19034-2707
7032685         EDI: WABK.COM Apr 04 2019 23:58:00      WORLD FINANCE COMPANY,    PO Box 6429,
                 Greenville, SC 29606-6429
7032684         EDI: WABK.COM Apr 04 2019 23:58:00      World Acceptance Corporation,     108 Frederick St,
                 Greenville, SC 29607-2532
                                                                                               TOTAL: 23

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                        TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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District/off: 0753-2                  User: mste                         Page 2 of 2                          Date Rcvd: Apr 04, 2019
                                      Form ID: 309A                      Total Noticed: 37


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 06, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 4, 2019 at the address(es) listed below:
              Joseph Scott Pappas   on behalf of Debtor John Dewilder Gibson jpappas@rsmithlawltd.com,
               ddunn@rsmithlawltd.com
              Roger L Prillaman   trusteeprillaman@aol.com,
               lori.prillamanandmoore@gmail.com;rlp@trustesolutions.net
              U.S. Trustee   USTPRegion10.PE.ECF@usdoj.gov
                                                                                            TOTAL: 3
